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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


FEDERAL TRADE COMMISSION, and                            Civil No. 18-2207 (DWF/TNL)

STATE OF MINNESOTA, by its Attorney
General, Lori Swanson,

                    Plaintiffs,

v.                                                          ORDER APPROVING
                                                      STIPULATION EXTENDING
SELLERS PLAYBOOK, INC., a corporation,              DEADLINE FOR TEMPORARY
                                                     RECEIVER TO FILE INITIAL
EXPOSURE MARKETING COMPANY, a                     REQUEST FOR COMPENSATION
corporation also, d/b/a Sellers Online and        PURSUANT TO SECTION XIX OF
Sellers Systems,                                             THE TEMPORARY
                                                          RESTRAINING ORDER
JESSIE CONNERS TIEVA, individually and
as an officer of SELLERS PLAYBOOK, INC.
and EXPOSURE MARKETING COMPANY,
and

MATTHEW R. TIEVA, individually and as an
officer of SELLERS PLAYBOOK, INC. and
EXPOSURE MARKETING COMPANY,

                    Defendants.




      The Court having read and reviewed the Stipulation Extending Deadline for

Temporary Receiver to File Initial Request for Compensation Pursuant to Section XIX of

the Temporary Restraining Order (“Stipulation”), (Doc. No. [45]), entered into by the

temporary receiver, Robb Evans & Associates LLC ( Receiver”), and all of the parties,

including plaintiff Federal Trade Commission (“FTC”), plaintiff State of Minnesota, by

its Attorney General Lori Swanson (“State of Minnesota”), and Defendants Sellers
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Playbook, Inc., Exposure Marketing Company, Jessie Conners Tieva, and Matthew R.

Tieva (collectively “Defendants”), and good cause being shown therefore,

       IT IS HEREBY ORDERED that the deadline for the Receiver and its

professionals to file their initial request for compensation pursuant to Section XIX of the

Temporary Restraining Order (Doc. No. 29) shall be extended for one month, so that the

last day that the Receiver shall file with the Court and serve on the parties the initial

request for compensation under Section XIX of the Temporary Restraining Order shall be

October 29, 2018.

Dated: September 25, 2018                          s/Donovan W. Frank
                                                   DONOVAN W. FRANK
                                                   United States District Judge




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